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                                                     UNITED STATES DISTRICT COURT
                                                     FOR THE DISTRICT OF COLUMBIA

                         BONNIE PLOTKIN                                        :
                         700 Cocoanut Avenue
                         Apartment 421                                         :
                         Sarasota, Florida 34236
                                                                               :
                                        Plaintiff,
                                                                               :
                                  v.
                                                                               :
                         UNITED STATES OF AMERICA
                                                                               :
                         Serve:         The Honorable William Barr
                                        Attorney General of the United States :
                                        Department of Justice, Room 4400
                                        950 Pennsylvania Avenue, NW           :      Case No.
                                        Washington, DC 20530
                                                                              :
                                  and
                                                                               :
                                        Michael R. Sherwin
                                        United States Attorney                 :
                                        555 4th Street, NW
                                        Washington, DC 20530                   :

                                  and                                          :

                                        Jessica Sanet                          :
                                        Office of General Counsel
                                        Smithsonian Institution                :
                                        P.O. Box 37012, MRC 012
                                        Washington, D.C. 20013                 :

                                        Defendants.                            :

                                                      COMPLAINT FOR NEGLIGENCE
                                                        (FTCA: Premises Liability)
 Regan Zambri Long
 1919 M Street, NW                Plaintiff, Bonnie Plotkin, respectfully moves for judgment against Defendant
      Suite 350
Washington, D.C. 20036

    202-463-3030
                         United States of America on the grounds and in the amount set forth below.
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                                                     JURISDICTION AND VENUE

                                1.     Jurisdiction is conferred upon this Court pursuant to the Federal Tort

                         Claims Act, 28 U.S.C. § 2671 et seq.

                                2.     Venue in this Court is proper pursuant to 28 U.S.C. § 1346(b), as the

                         claims are brought against the United States for money damages, and 28 U.S.C. § 1391,

                         as the cause of action arose in the District of Columbia.

                                3.     On December 10, 2019, pursuant to the Federal Tort Claims Act

                         (“FTCA”), Plaintiff filed an administrative tort claim for personal injuries with the

                         Smithsonian Institution in connection with an accident that occurred at the National

                         Museum of African American History and Culture (“Museum”) in Washington, D.C.

                                4.     On July 1, 2020, after investigating Plaintiff’s claim, the Smithsonian

                         Institution denied Plaintiff’s claim on the grounds that there was an insufficient basis to

                         conclude that Plaintiff’s injuries were the result of the Smithsonian Institution’s

                         negligence.

                                5.     Pursuant to 28 U.S.C. § 2401(b) and 28 C.F.R. § 14.9(b), Plaintiff has

                         elected to commence an action in this Court.

                                                                 PARTIES

                                6.     Plaintiff Bonnie Plotkin is an adult citizen and resident of the State of

                         Florida.
 Regan Zambri Long
 1919 M Street, NW              7.     Defendant The United States of America (“Defendant U.S.”) is subject to
      Suite 350
Washington, D.C. 20036
                         suit under the FTCA for the negligent or wrongful acts and/or omissions of its agents,
    202-463-3030




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                         servants, employees and/or trust instrumentalities, including but not limited to the

                         Smithsonian Institution.

                                8.        Upon information and belief, the Smithsonian Institute was established by

                         Congress as a trust instrumentality of the U.S.

                                9.        Upon information and belief, at all relevant times herein, the U.S. and/or

                         the Smithsonian Institution controlled, owned, and/or operated the Museum, and was

                         responsible for the maintenance thereof.

                                                                     FACTS

                                10.       On July 26, 2019, Plaintiff was visiting the Museum.

                                11.       Plaintiff was standing by the marble seating area outside of the entrance to

                         the Museum with her family.

                                12.       There is an unguarded water feature near the entrance of the Museum that

                         was empty on that day.

                                13.       Plaintiff was facing away from the water feature, towards the doors of the

                         Museum, when she took one step back and fell off the unguarded ledge into the empty

                         water feature.

                                14.       The ledge was about 2-3 feet down.

                                15.       Plaintiff fell onto her left side and was unable to stand up on her own.

                                16.       Museum security brought Plaintiff a wheelchair and called an ambulance
 Regan Zambri Long
 1919 M Street, NW       that took her to Sibley Memorial Hospital.
      Suite 350
Washington, D.C. 20036

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                                17.      As a direct and proximate result of the fall, Plaintiff suffered a broken left

                         hip, two pelvis fractures, and injury to her acetabulum. Plaintiff has incurred and will

                         continue to incur substantial medical expenses, has suffered and will continue to suffer a

                         loss of wages and/or loss of wage-earning capacity, and has suffered and will continue to

                         suffer pain, emotional distress, and mental anguish.

                                                                  COUNT I
                                                                 (Negligence)

                                18.      Plaintiff incorporates, by reference, paragraphs 1 through 17, as if fully set

                         forth herein.

                                19.      Plaintiff alleges that at the time of the accident, Defendant U.S. and/or the

                         Smithsonian Institution owed a duty to Plaintiff, who was lawfully on the Museum’s

                         premises at the time of her injury, to keep the premises in a reasonably safe condition,

                         and to warn persons on the premises of any hazardous conditions under their ownership,

                         management, and/or control.

                                20.      Plaintiff further alleges that Defendant U.S. and/or the Smithsonian

                         Institution breached the duties owed as set forth in the preceding paragraph.

                                21.      Defendant U.S. and/or the Smithsonian Institution breached this duty by,

                         despite actual or constructive notice that the ledge at the end of the water feature was

                         unguarded, failing to repair the dangerous condition in a timely manner, to warn their

                         lawful invitees of the presence of the hazard, or to otherwise make safe the dangerous
 Regan Zambri Long
 1919 M Street, NW
      Suite 350          condition.
Washington, D.C. 20036

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                                22.    As a direct and proximate result of Defendant U.S. and/or the Smithsonian

                         Institution’s negligence, Plaintiff has suffered the injuries and damages set forth in

                         paragraph 17, above.

                                WHEREFORE, Plaintiff Bonnie Plotkin demands judgment against Defendant

                         United States of America in the full and just amount of One Million Dollars

                         ($1,000,000.00), plus interest and costs.

                                                                           Respectfully submitted,

                                                                           REGAN ZAMBRI LONG PLLC


                                                                           By: /s/ Patrick M. Regan
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                                                                               Washington, D.C. 20036
                                                                               PH: (202) 463-3030
                                                                               FX: (202) 463-0667
                                                                               Counsel for Plaintiff




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